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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
RECLAIM THE RECORDS et al.,                                            :
                                                                       :
                                    Plaintiffs,                        :
                                                                       :     23-CV-1471 (JMF)
                  -v-                                                  :
                                                                       :          ORDER
UNITED STATES DEPARTMENT OF STATE,                                     :
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

JESSE M. FURMAN, United States District Judge:

        On February 19, 2024, Plaintiffs timely filed their opposition to Defendant’s motion for
summary judgment together with a cross motion for summary judgment. See ECF Nos. 35-37.
The current briefing schedule did not contemplate a cross-motion and provides that Defendant’s
reply, if any, shall be filed no later than March 21, 2024. See ECF No. 34. That deadline will
remain in place, but in light of Plaintiffs’ cross motion, by March 21, 2024, Defendant shall file
together its reply in support of its motion as well as its opposition to Plaintiffs’ cross motion in a
single brief not to exceed twenty-five pages. Plaintiffs may then file any reply in support of their
motion, not to exceed ten pages, no later than April 4, 2024.

        SO ORDERED.

Dated: February 20, 2024                                   __________________________________
       New York, New York                                           JESSE M. FURMAN
                                                                  United States District Judge
